     Case 3:21-cv-01420-BAS-DEB Document 6 Filed 11/16/21 PageID.41 Page 1 of 9




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16
                         IN THE UNITED STATES DISTRICT COURT
17
                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18

19   DIGITAL VERIFICATION SYSTEMS,
     LLC,                                      CIVIL ACTION NO. 3:21-CV-01420-BAS-
20                                                           DEB
                         Plaintiff,
21                v.                                 JURY TRIAL DEMANDED

22                                                       PATENT CASE
     CLIENTPOINT, INC.,
23
                         Defendant.
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     Case 3:21-cv-01420-BAS-DEB Document 6 Filed 11/16/21 PageID.42 Page 2 of 9




1                CLIENTPOINT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND
2                        COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT
3           Defendant ClientPoint, Inc. (“ClientPoint”) files this Answer, Affirmative Defenses, and
4    Counterclaims to Plaintiff Digital Verification Systems, LLC’s (“Plaintiff’s”) Complaint
5    (“Complaint”). ClientPoint denies the allegations and characterizations in Plaintiff’s Complaint
6    unless expressly admitted in the following paragraphs.1
7                                    PARTIES AND JURISDICTION
8           1.      ClientPoint admits that the Complaint purports to set forth an action for
9    infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.
10          2.      ClientPoint admits that this Court has subject matter jurisdiction over this action
11   pursuant to 28 U.S.C. §§ 1331 and 1338(a).
12          3.      ClientPoint is without knowledge or information sufficient to form a belief as to
13   the truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies all such
14   allegations.
15          4.      ClientPoint admits that it is a Delaware corporation with its principal office located
16   at 6790 Embarcadero Lane, Suite 100, Carlsbad, CA 92011, and that it may be served through its
17   registered agent, Laurence Abrams at 837 4th Street, Encinitas, CA 92024. ClientPoint denies it
18   has committed or is committing acts of infringement within this district or elsewhere and, on that
19   basis, denies the remaining allegations of Paragraph 4 of the Complaint
20          5.      ClientPoint does not contest whether the Court has personal jurisdiction over it in
21   this case. ClientPoint admits that it conducts business in the State of California. ClientPoint denies
22   it has committed or is committing acts of infringement within this district or elsewhere and, on
23   that basis, denies the remaining allegations of Paragraph 5 of the Complaint.
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       For avoidance of doubt, ClientPoint denies liability for all allegations of patent infringement
     included or implied in the introductory paragraph or in any headings of the Complaint.
     Case 3:21-cv-01420-BAS-DEB Document 6 Filed 11/16/21 PageID.43 Page 3 of 9




1           6.      ClientPoint denies that it has committed or is committing acts of infringement
2    within this district or elsewhere and, on that basis, denies the allegations of Paragraph 6 of the
3    Complaint.
4                                                 VENUE
5           7.      ClientPoint does not contest whether venue is proper in this case, but denies that
6    venue is convenient.
7                                                COUNT I
8          (ALLEGED) INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860
9           8.      ClientPoint incorporates paragraphs 1 through 7 herein by reference.
10          9.      ClientPoint admits that the Complaint purports to set forth an action for
11   infringement under the Patent Laws of the United States, 35 U.S.C. §§ 271, et seq.
12          10.     ClientPoint is without knowledge or information sufficient to form a belief as to
13   the truth of the allegations in Paragraph 10 of the Complaint and, on that basis, denies all such
14   allegations.
15          11.     ClientPoint admits that a purported copy of U.S. Patent No. 9,054,860 (the “’860
16   Patent”) is attached to the Complaint as Exhibit A and that the face of that patent indicates that it
17   is entitled “Digital Verified Identification System and Method.”
18          12.     ClientPoint denies the allegations in Paragraph 12 of the Complaint.
19          13.     ClientPoint denies the allegations in Paragraph 13 of the Complaint.
20          14.     ClientPoint denies the allegations in Paragraph 14 of the Complaint.
21          15.     ClientPoint denies the allegations in Paragraph 15 of the Complaint.
22          16.     ClientPoint denies the allegations in Paragraph 16 of the Complaint.
23          17.     ClientPoint denies the allegations in Paragraph 17 of the Complaint.
24          18.     ClientPoint denies the allegations in Paragraph 18 of the Complaint.
25          19.     ClientPoint denies the allegations in Paragraph 19 of the Complaint.
26          20.     ClientPoint denies the allegations in Paragraph 20 of the Complaint.
     Case 3:21-cv-01420-BAS-DEB Document 6 Filed 11/16/21 PageID.44 Page 4 of 9




1            21.    ClientPoint denies the allegations in Paragraph 21 of the Complaint.
2            22.    ClientPoint is without knowledge or information sufficient to form a belief as to
3    the truth of the allegations in Paragraph 22 of the Complaint and, on that basis, denies all such
4    allegations.
5                                [PLAINTIFF’S] PRAYER FOR RELIEF
6            ClientPoint denies the Plaintiff is entitled to any relief from ClientPoint and denies all the
7    allegations contained in Paragraphs A-E (including any subparts) of Plaintiff’s Prayer for Relief.
8                                      AFFIRMATIVE DEFENSES
9            ClientPoint’s Affirmative Defenses are listed below. ClientPoint reserves the right to
10   amend its answer to add additional Affirmative Defenses consistent with the facts discovered in
11   this case.
12                                  FIRST AFFIRMATIVE DEFENSE
13           ClientPoint has not infringed and does not infringe, under any theory of infringement
14   (including directly (whether individually or jointly) or indirectly (whether contributorily or by
15   inducement)), any valid, enforceable claim of the ’860 Patent.
16                                SECOND AFFIRMATIVE DEFENSE
17           Each asserted claim of the ’860 Patent is invalid for failure to comply with one or more of
18   the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C. §§
19   101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.
20                                 THIRD AFFIRMATIVE DEFENSE
21           To the extent that Plaintiff and any predecessors in interest to the ’860 Patent failed to
22   properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or
23   otherwise give proper notice that ClientPoint’s actions allegedly infringe the ’860 Patent,
24   ClientPoint is not liable to Plaintiff for the acts alleged to have been performed before ClientPoint
25   received actual notice that it was allegedly infringing the ’860 Patent.
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     Case 3:21-cv-01420-BAS-DEB Document 6 Filed 11/16/21 PageID.45 Page 5 of 9




1                                 FOURTH AFFIRMATIVE DEFENSE
2           To the extent that Plaintiff asserts that ClientPoint indirectly infringes, either by
3    contributory infringement or inducement of infringement, ClientPoint is not liable to Plaintiff for
4    the acts alleged to have been performed before ClientPoint knew that its actions would cause
5    indirect infringement.
6                                   FIFTH AFFIRMATIVE DEFENSE
7           The claims of the ’860 Patent are not entitled to a scope sufficient to encompass any system
8    employed or process practiced by ClientPoint.
9                                   SIXTH AFFIRMATIVE DEFENSE
10          To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether
11   by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be
12   granted.
13                               SEVENTH AFFIRMATIVE DEFENSE
14          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the
15   ’860 Patent does not claim patent eligible subject matter under 35 U.S.C. § 101.
16                                EIGHTH AFFIRMATIVE DEFENSE
17          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because, among
18   other things, Plaintiff has not stated a plausible allegation that any system employed by ClientPoint
19   comprises: “at least one digital identification module structured to be associated with at least one
20   entity,” “a module generating assembly structured to receive at least one verification data element
21   corresponding to the at least one entity and create said at least one digital identification module,”
22   “said at least one digital identification module being disposable within at least one electronic file,”
23   and “said at least one digital identification module comprising at least one primary component
24   structured to at least partially associate said digital identification module with said at least one
25   entity, wherein said at least one digital identification module is cooperatively structured to be
26   embedded within only a single electronic file”; as required by Claim 1 of the ’860 Patent.
     Case 3:21-cv-01420-BAS-DEB Document 6 Filed 11/16/21 PageID.46 Page 6 of 9




1                                    NINTH AFFIRMATIVE DEFENSE
2              Plaintiff is estopped, based on statements, representations, and admissions made during
3    prosecution of the patent application resulting in the asserted patent, from asserting any
4    interpretation of any valid, enforceable claims of the ’860 Patent that would be broad enough to
5    cover any accused product alleged to infringe the asserted patent, either literally or by application
6    of the doctrine of equivalents.
7                                    TENTH AFFIRMATIVE DEFENSE
8              Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C. §§ 286 and
9    287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering costs associated with its
10   action.
11                                ELEVENTH AFFIRMATIVE DEFENSE
12             Plaintiff is precluded from recovering its reasonable attorney’s fees, costs, and or increased
13   damages under 35 U.S.C. §§ 284 or 285.
14                                 TWELFTH AFFIRMATIVE DEFENSE
15             Should ClientPoint be found to infringe any valid, enforceable claim of the ’860 Patent,
16   such infringement was not willful.
17                                 CLIENTPOINT’S COUNTERCLAIMS
18             1.       For its counterclaims against Counterclaim Defendant Digital Verification
19   Systems, LLC (“DVS”), Counterclaim Plaintiff ClientPoint, Inc. (“ClientPoint”), alleges as
20   follows:
21                                                  PARTIES
22             2.       Counterclaim Plaintiff ClientPoint is a corporation organized and existing under
23   the laws of Delaware that maintains its principal place of business at 6790 Embarcadero Lane,
24   Suite 100, Carlsbad, CA 92011.
25             3.       Upon information and belief based solely on Paragraph 3 of the Complaint as pled
26   by Plaintiff, Counterclaim Defendant Digital Verification Systems, LLC is a limited liability
     Case 3:21-cv-01420-BAS-DEB Document 6 Filed 11/16/21 PageID.47 Page 7 of 9




1    company organized and existing under the laws of Texas that maintains its principal place of
2    business at 1 East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
3                                             JURISDICTION
4           4.        ClientPoint incorporates by reference Paragraphs 1–3 above.
5           5.        These counterclaims arise under the patent laws of the United States, Title 35,
6    United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,
7    and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
8           6.        DVS has consented to the personal jurisdiction of this Court at least by
9    commencing its action for patent infringement in this District, as set forth in its Complaint.
10          7.        Based solely on DVS’s filing of this action, venue is proper for purposes of these
11   counterclaims in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.
12                                                COUNT I
13        DECLARATION REGARDING NON-INFRINGEMENT OF THE ’860 PATENT
14          8.        ClientPoint incorporates by reference Paragraphs 1–7 above.
15          9.        Based on DVS’s filing of this action and at least ClientPoint’s first affirmative
16   defense, an actual controversy has arisen and now exists between the parties as to whether
17   ClientPoint infringes U.S. Patent No. 9,054,860 (the “’860 Patent”).
18          10.       ClientPoint does not infringe at least Claim 1 of the ’860 Patent because, inter
19   alia, Plaintiff has not stated a plausible allegation that any system employed by ClientPoint
20   practices: “sending a request from a requesting positional information device to a server for at least
21   one address stored in at least one sending positional information device, the request including a
22   first identifier of the requesting positional information device”; and “receiving at the requesting
23   positional information device, from the server, a retrieved at least one address to the requesting
24   positional information device wherein the server determines a second identifier for identifying the
25   at least one sending positional information device based on the received first identifier and
26   retrieves the requested at least one address stored in the identified at least one sending positional
     Case 3:21-cv-01420-BAS-DEB Document 6 Filed 11/16/21 PageID.48 Page 8 of 9




1    information device.”
2           11.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,
3    ClientPoint requests a declaration by the Court that ClientPoint has not infringed and does not
4    infringe any claim of the ’860 Patent under any theory (including directly (whether individually or
5    jointly) or indirectly (whether contributorily or by inducement)).
6                                                COUNT II
7                            DECLARATION REGARDING INVALIDITY
8           12.       ClientPoint incorporates by reference Paragraphs 1–11 above.
9           13.       Based on DVS’s filing of this action and at least ClientPoint’s Second Affirmative
10   Defense, an actual controversy has arisen and now exists between the parties as to the validity of
11   the claims of the ’860 Patent.
12          14.       On information and belief, the claims of the ’860 Patent are invalid for failure to
13   comply with one or more of the requirements of United States Code, Title 35, and the rules,
14   regulations, and laws pertaining thereto.
15          15.       For example, as explained in ClientPoint’s forthcoming Motion for Judgment on
16   the Pleadings pursuant to Fed. R. Civ. P. 12(c), the ’860 Patent is invalid for failure to comply with
17   35 U.S.C. § 101. As explained, the ’860 Patent claims nothing more than an abstract idea, and it
18   fails to claim an inventive concept.
19          16.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,
20   ClientPoint requests a declaration by the Court that the claims of the ’860 Patent are invalid for
21   failure to comply with one or more of the requirements of United States Code, Title 35, including
22   without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws
23   pertaining thereto.
24                                          PRAYER FOR RELIEF
25          WHEREFORE, ClientPoint asks this Court to enter judgment in ClientPoint’s favor and
26   against DVS by granting the following relief:
     Case 3:21-cv-01420-BAS-DEB Document 6 Filed 11/16/21 PageID.49 Page 9 of 9




1           a)        a declaration that the ’860 Patent is invalid;
2           b)        a declaration that ClientPoint does not infringe, under any theory, any valid claim
3    of the ‘860 Patent that may be enforceable;
4           c)        a declaration that DVS take nothing by its Complaint;
5           d)        judgment against DVS and in favor of ClientPoint;
6           e)        dismissal of the Complaint with prejudice;
7           f)        a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award
8    to ClientPoint of its costs and attorneys’ fees incurred in this action; and
9           g)        further relief as the Court may deem just and proper.
10                                            JURY DEMAND
11          ClientPoint hereby demands trial by jury on all issues.
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13   Dated: November 16, 2021                           Respectfully submitted,
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                                                        FISH & RICHARDSON P.C.
15                                                       By: /s/ Rodeen Talebi
                                                             Rodeen Talebi
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